
669 S.E.2d 745 (2008)
In re C.T.J., appealed by Mother.
No. 352P08.
Supreme Court of North Carolina.
December 11, 2008.
Christy E. Wilhelm, Concord, for Mother.
John Honeycutt, for Guardian ad Litem.
Johnny Jackson, Pro Se, for Johnny &amp; Jillaine Jackson.
Jillaine J. Jackson, Pro Se.

ORDER
Upon consideration of the petition filed on the 29th day of July 2008 by Respondent (Mother) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of December 2008."
